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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

    UNITED STATES OF AMERICA                     *          CRIMINAL NO. 2:19-cr-00197

    v.                                           *
                                                            SECTION: “D” (4)
    KHALID AHMED SATARY                          *

                                          *      *      *

              UNITED STATES’ NOTICE OF SUPPLEMENTAL AUTHORITY

          The United States of America, by and through undersigned counsel, respectfully provides

the Court notice of supplemental authority regarding the obligations of third-party custodians and

the Court’s contempt authority under Title 18, United States Code, Section 401. In United States

v. Crow, Case No. 1:15-CR-10003-CBK, 2015 WL 4692962, at *2 (D. S.D. Aug. 5, 2015), the

defendant, a third-party custodian for her son, argued that “a third-party custodian cannot be held

in contempt for the actions of the person being supervised, including absconding or the

commission of crimes while on release.” The court rejected that argument, holding that the third-

party custodian was charged with contempt not based on the actions of her son, but based on her

own violation of the court’s order appointing her his third-party custodian and requiring her to

report any violations of bond by her son. But see United States v. Hopkins, Case No. 3-99-CR-

324-D, 2000 WL 146372 (N.D. Tex. Feb. 2, 2000). 1 The United States respectfully submits that

Crow is the more persuasive authority on this question. To hold that a third-party custodian faces




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  While the United States respectfully disagrees with the court’s holding in Hopkins, it bears
mentioning that the court there did note that a third-party custodian “may be subject to criminal
prosecution if he conceals the whereabouts of the defendant or obstructs efforts to apprehend him.”
Hopkins, 2000 WL 146372, n. 2. During the hearing on December 12, 2022, Jordan Satary refused
to answer any of the Court’s questions regarding the Defendant’s whereabouts. Worse still, Jordan
Satary even refused to answer, through counsel, the Court’s question regarding the last time he
texted with his father.
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no consequences whatsoever for failing to abide by a court order requiring him or her to monitor

a defendant and report any violations of bond or potential flight would render that condition of

release meaningless.


                                                   Respectfully submitted,

                                                   GLENN S. LEON
                                                   CHIEF, FRAUD SECTION
                                                   U.S. DEPARTMENT OF JUSTICE
                                                   CRIMINAL DIVISION, FRAUD SECTION


                                                   s/ Alexander Thor Pogozelski     _
                                                   ALEXANDER THOR POGOZELSKI
                                                   Trial Attorney
                                                   JUSTIN WOODARD
                                                   Assistant Chief
                                                   U.S. Department of Justice
                                                   Criminal Division, Fraud Section
                                                   (202) 510-2208 (Pogozelski)
                                                   (202) 262-7868 (Woodard)
                                                   Alexander.Pogozelski@usdoj.gov
                                                   Justin.Woodard@usdoj.gov




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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 14, 2022, I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing to all
defense counsel of record, and also served this filing on counsel for Jordan Satary.

                                                    s/ Alexander Thor Pogozelski     ___
                                                    ALEXANDER THOR POGOZELSKI
                                                    U.S. Department of Justice
                                                    Criminal Division, Fraud Section




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